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8
                        IN THE UNITED STATES DISTRICT COURT
9
                                 FOR THE DISTRICT OF ARIZONA
10

11
     UNITED STATES OF AMERICA,                   )
                                                 )
12                  Plaintiff,                   ) CR-18-01256-CKJ-JR
            vs.                                  )
13                                               ) OBJECTION TO GUIDELINE
     JOSHUA JOEL PRATCHARD,                      ) CALCULATIONS
14                                               )
                    Defendant.                   )
15
                                                 )
16

17          It is expected that excludable delay under Title 18 U.S.C. Section 3161(h)(7) may

18   occur as a result of this motion or of an order based thereon.
19
            Offense Level Computation
20
           A.       Base Offense Level
21
            The defendant objects to the PSR’s claim of a base offense level of 26.
22
     USSG § 2K2.1(a)(1) specifies a base offense level 26 if the instant offense was
23

24
     committed subsequent to sustaining at least two felony convictions of either a

25   “crime of violence” or a “controlled substance offense.” The PSR wrongly asserts

26   that defendant has two prior convictions that are qualifying convictions under the

     guidelines.
                                                  1
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1           The defendant’s prior convictions are: 1) assault resulting in serious bodily
2    injury in violation of 18 U.S.C. § 113(a)(6); and, 2) wrongful distribution and use of
3
     Ecstasy in violation of United States Code of Military Justice Article 112a.
4
                    1. Defendant’s felony conviction for Assault Resulting in
5                      Serious Bodily Injury, is not a “crime of violence,” because
                       the offense encompasses reckless conduct.
6
            For purposes of USSG § 2K2.1, “crime of violence” has the same meaning
7

8    given that term in USSG § 4B1.2(a). USSG § 4B1.2(a)(1) defines the term “crime

9    of violence” as an offense that “has as an element the use, attempted use, or

10   threatened use of physical force against the person of another.” This language is
11
     identical to definition of “crime of violence” contained in 18 U.S.C. § 16(b).
12
            In 2004, the United States Supreme Court considered whether a “crime of
13
     violence” under 18 U.S.C. § 16(b), encompassed negligent conduct, and found that
14
     it did not. Leocal v. Ashcroft, 543 U. S. 1 (2004). Shortly thereafter, the 9th Circuit,
15
     in Fernandez-Ruiz v. Gonzales, extended Leocal to exclude reckless conduct from §
16

17   16(b). 466 F.3d 1112, 1132 (9thCir. 2006). The Court held that the bedrock principle

18   of Leocal - that a federal crime of violence must involve the intentional use of force

19   – precludes sentencing enhancement for prior offenses that include reckless as an
20
     element.
21
            The federal statute under which defendant was convicted, 18 U.S.C. § 113,
22
     may be based on reckless conduct. United States v. Loera, 923 F.2d 725,728 (9th
23
     Cir. 1991). For that reason, under Fernandez-Ruiz, the defendant’s conviction for
24

25
     assault under § 113(a)(6) is not a “crime of violence,” and does not qualify as a

26   prior conviction for enhancement purposes under USSG § 2K2.1(a), and cannot be

     used to heighten the base offense level.
                                                   2
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1           Fernandez-Ruiz remains the law in the 9th Circuit. In May, 2019, the 9th
2    Circuit confirmed the long-standing principle that reckless conduct does not
3
     constitute a crime of violence. United States v. Orona, 923 F.3d 1197, 1199 (9thCir.
4
     2019). Orona discussed at length the United States Supreme Court’s decision in
5
     Voisine v. United States, --- U.S. ---, 136 S. Ct. 2272, 195 L.Ed.2d 736 (2016),
6
     which held that a domestic assault statute encompassing reckless conduct did
7

8    constitute a “misdemeanor crime of violence.” However, Orona concluded that

9    Voisine was not irreconcilable with Fernandez-Ruiz. The Orona Court applied

10   Fernandez-Ruiz, holding that the Arizona offense of Aggravated Assault, which
11
     encompasses reckless conduct, does not qualify as a prior violent felony under the
12
     force clause of the ACCA (which contains language identical to USSG §
13
     4B1.2(a)(1)).
14
            In deciding whether a prior conviction qualifies as a “crime of violence”
15
     under USSG § 2K21, the categorical approach mandated in Taylor v. United States,
16

17   495 U.S. 575, 110 S.Ct. 2134, 109 L.Ed.2d 607 (1990), is applied. The court does

18   not look to the specific facts in the underlying case, but instead conducts a

19   comparison of the elements of the statute governing the prior conviction with the
20
     elements defining a “crime of violence.” Consistent with the holding in Orona,
21
     supra, the statute under which defendant was convicted of assault contains the
22
     element of reckless and does not qualify as a crime of violence. When the
23
     categorical approach analysis results in a finding that the statute of conviction does
24

25
     not qualify as a categorical “crime of violence,” the court may apply a modified

26   categorical approach and examine the record, if the relevant statute is “divisible.”

     Descamps v. United States, 570 U.S. 254, 133 S.Ct. 2276, 186 L.Ed.2d 438 (2013).
                                                  3
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1    The Supreme Court described divisibility as creating “multiple, alternative versions
2    of the crime …” Id. at 2284. (In that event, the court may look to judicially
3
     noticeable documents to determine which part of the statute pertains to the
4
     defendant’s conviction. The focus is still on the elements of the prior conviction,
5
     and the underlying facts remain irrelevant.) However, “when the crime of which the
6
     defendant was convicted has a single, indivisible set of elements,” the sentencing
7

8    court may not apply the modified categorical approach. Id. at 2282. 18 U.S.C. §

9    113(a) defines the offense as “assault resulting in serious bodily injury.” Because

10   the statute sets forth an indivisible set of elements, the modified approach is not
11
     applicable.
12
                    2. Defendant’s felony conviction for Wrongful Distribution and
13                     Use of Ecstasy is not a “controlled substance offense”
                       because it does not require “intent” to commit the offense.
14
            For purposes of USSG §2K2.1, “controlled substance offense” has the same
15
     meaning given that term in USSG § 4B1.2(b). USSG § 4B1.2(b) defines the term
16

17   “controlled substance offense” as an offense that “prohibits the manufacture,

18   import, export, distribution, or dispensing of a controlled substance (or a counterfeit

19   substance) or the possession of a controlled substance (or counterfeit substance)
20
     with the intent to manufacture, import, export, distribute, or dispense.”
21
            The statute under which defendant was convicted, United States Code of
22
     Military Justice, Article 112a, mandates punishment for any person who
23
     “wrongfully uses, possesses, manufactures, distributes, imports into the customs
24

25
     territory of the United States, exports form the United States, or introduces into an

26   installation, vessel, vehicle, or aircraft used by or under the control of the armed

     forces a substance described in subsection (b).” (Emphasis added.) “Wrongfully” is
                                                  4
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1    not defined by the statute. However, the United States Court of Appeals for the
2    Armed Forces held that the element is satisfied if the accused acted with
3
     knowledge. United States v. Thomas, 65 M.J. 132, 135 (2007). The statute does not
4
     require an intentional act.
5
            Applying the categorical approach, the statute of conviction is missing the
6
     element of intent required by the definition of “controlled substance offense” and
7

8    therefore is not a qualifying crime under the sentencing guidelines. Thus,

9    defendant’s prior conviction is not a “controlled substance offense” as contemplated

10   by USSG §2K2.1 and cannot be used to heighten the base offense.
11
            Conclusion
12
            The pre-sentence report incorrectly specifies a base offense level of 26
13
     based on prior felony convictions. Those convictions are not qualifying under the
14
     guidelines as noted above.
15
            RESPECTFULLY SUBMITTED this 17th             day of June, 2019.
16

17

18
                                                 By_s/ Laura E. Udall
19                                                 Laura E. Udall
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21
                                                 By_s/ Dan H. Cooper
22                                                 Dan H. Cooper
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